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      Case 1:19-cv-00169-LEK-KJM Document 39 Filed 08/12/19 Page 2 of 4                                          PageID #: 319
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 Civil Action No. 1:19-cv-00169-LEK-KJM

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                   on (date)                         ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)               ~~~~~~~~~~




                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                         ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):




           My fees are $                           for travel and $                 for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server 's signature



                                                                                       Printed name and title




                                                                                          Server 's address


 Additional information regarding attempted service, etc:
     Case 1:19-cv-00169-LEK-KJM Document 39 Filed 08/12/19 Page 3 of 4                                  PageID #: 320

HID 440 (Rev. 12/00) Summons in a Civil Action


                                     UNITED S TATES DISTRICT COURT
                                                             for the
                                                        District of Hawaii

                    Venice P l, LLC, et al .
                                                                )
                                                                )
                             Plaintiff
                                                                )
                                V.                              )      Civil Action No. 1: 19-cv-OO 169-L EK-KJM
                   DOE 1 d/b/a YIFY, et al.                     )
                                                                )
                            Defendant
                                                                )


                                                 SUMMO NS IN A C IVIL AC TION

T o: (Defendant 's name and address)
                                         Doe 2 d/b/a YTS
                                         Mr. Senthil Vijay Segaran
                                         2 7 OLD GLOUCESTER STREET
                                         LONDON ENGLAND WCIN 3AX



          A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day you received it)     or 60 days if you
are the U nited States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)    you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Kerry S . Culpepper
                                  75-170 Hualalai Road, Suite 8204
                                  Kailua Kona, HI 9640
                                  Tel: (808) 464-4047



       If you fai l to respond, judg ment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             SUEBEITIA
                                                                          CLERK OF COURT


Date:     8/ 12/2019                                                     Isl C. Brost Deputy Clerk
                                                                                    Signature ofClerk or Deputy Clerk
      Case 1:19-cv-00169-LEK-KJM Document 39 Filed 08/12/19 Page 4 of 4                                          PageID #: 321
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 1:19-cv-00169-LEK-KJM

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                                                               , a person of suitable age and discretion who resides there,
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                                                                                   on (date)                         ; or

           0 I returned the summons unexecuted because                                                                             ; or

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           My fees are $                           for travel and $                 for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server 's signature



                                                                                       Printed name and title




                                                                                          Server 's address


 Additional information regarding attempted service, etc:
